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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION FILED

Date: 12/4/2020 via: email

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wow. Dimb.useouris.gov Clerk, U.S. Bankruptcy

In re: Orlando Division
Chapter 7
Orlando Cruz, Case No.: 6:16-bk-07815-KS]
Debtor.
/

Jessica Doiron,

Plaintiff, ADV. NO.: 6:17-ap-00043-KSJ
Vv.
Orlando Cruz.

Defendant.

/

NOTICE OF APPEAL TO THE UNITED STATES DISTRICT COURT FOR THE
MIDDLE DISTRICT OF FLORIDA

Orlando Cruz, Defendant in the above-captioned adversary proceeding appeals under 28
U.S.C. § 158(a) to the United States District Court for the Middle District of Florida the
following:

1. The Final Judgment of the United States Bankruptcy Court for the Middle District of
Florida entered in this case on October 13, 2020 (Doc. 131).

2. The Memorandum Opinion Finding Debt Not Dischargeable entered on October 13,
2020 (Doc. 130).

3. The Order Denying Motion to Vacate entered on November 23, 2020 (Doc. 139).
 

 

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4. The Order Denying Motions for Summary Judgment entered on March 22, 2019 (Doc.

78).

5. The Order Denying Defendant’s Motion to Dismiss entered on March 30, 2018 (Doc.
29).

6. The Order Scheduling Trial on Intent Issues Only entered on June 17, 2019. (Doc.
103).

If a Bankruptcy Appellate Panel Service is authorized to hear this appeal, each party has a
right to have the appeal heard by the District Court. The appellant may exercise this right only by
filing a separate statement of election at the time of the filing of this notice of appeal. Any other
party may elect, within the time provided in 28 U.S.C. § 158(c), to have the appeal heard by the
District Court.

If a child support creditor or its representative is the appellant, and if the child support
creditor or its representative files the form specified in § 304(g) of the Bankruptcy Reform Act of
1994, no fee is required.

CERTIFICATE OF SERVICE
1 HEREBY CERTIFY that, pursuant to Administrative Order FLMB-2020-3 (6.b.)

signed on March 23, 2020 by Hon. Chief Justice Caryl E. Delano, the foregoing was sent this
4" day of December 2020 to the intake office of the Orlando Division, Middle District of
Florida, United States Bankruptcy Court via electronic mail (“e-mail”) at the following
address: flmb-intake-orlando@fimb.uscourts.gov. The Clerk of the Court will upload the
foregoing to the CM/ECF system, which will automatically send e-mail notification of such
filing to the party listed below. A copy of the foregoing has also been sent on this day via e-

mail and U.S. Priority Mail to:

Neil L. Henrichsen

a/f Plaintiff, Jessica Doiron
301 W. Bay Street, 14th Floor
Jacksonville, FL 32204

nhenrichsen@hslawyers.com
 

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